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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 9:17-CV-80397 DIMITROULEAS
                                    Magistrate Judge Snow

   ROBERT WARSHAW,
         Plaintiff(s),
   vs.
   SCOTT J. WORTMAN AND
   KORTE & WORTMAN, P.A.,
         Defendants(s),
   ________________________________/


                                   NOTICE OF SETTLEMENT

          Plaintiff ROBERT WARSHAW, by and through the undersigned counsel, hereby

   notifies the Court that the Parties have reached a settlement of this matter. The parties will file

   a Stipulation for Dismissal of this action with prejudice upon the execution of the written

   settlement agreement. Respectfully submitted this 13th day of November, 2017.


                                                 /s/    John J.R. Skrandel, FL Bar #120413
                                                 Jerome F. Skrandel, PL Counsel for Plaintiff
                                                 300 Prosperity Farms Road, Suite D
                                                 North Palm Beach, FL 33408-5212
                                                 Phone (561)863-1605 Fax (561)863-1606
                                                 Email JFSPA@MSN.COM

                                   CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk of
   the Court by using the CM/ECF system which will send a notice of electronic filing and a copy
   to the persons listed above on this 13th day of November, 2017:

   Sarah Gray, Esq, FL Bar #100246
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   Counsel for Defendants Scott J. Wortman and Korte & Wortman, P.A.

                                                 By     /s/ John J.R. Skrandel
                                                 Florida Bar Number 120413



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